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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF VIRGINIA
                                 Alexandria Division

   MUNA AL-SUYID et al.,                  )
                                          )
         Plaintiffs,                      )
                                          )
   v.                                     )      Case No. I :20-cv-00 170 (LMB/JFA)
                                          )
   KHALIFA HIFTER,                        )              I : tC,-cv- ffS-.3 ( £/r-c.J~ 17)
                                          )              /: 20-cv- ,_,.      fed 5 7 .'cf)
         Defendant.                       )
                                                                      It>~   ~"12.A-)
                           ~it !       j PROTECTIVE ORDER

         IT APPEARING TO THE COURT THAT:

         A.     The Parties recognize that discovery m this case may call for the

  disclosure of personal and confidential information including but not limited to

  financial records, political records, confidential or sensitive communications,

  information relating to an ongoing civil war or the political status a nd structure of

  Libya now or previously, medical records, mental health treatment records, and other

  personal records;

        B. The Parties also recognize that the unrestricted disclosure of such private

  and confidential information could be prejudicial to the Parties and non-parties and

  could compromise the rights of the Parties and non-parties alike;

        C. This Protective Order is intended to facilitate discovery and to eliminate,

  where possible, disputes between the Parties concerning discovery issues by

  providing court-ordered protection for confidential, sensitive, and/or non-public

  information. It is not, h owever , intended to diminish the rights of any party to have
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  information to which it is entitled, pursuant to any rule or Order of this Court or

  otherwise;

           D. The Parties have, through counsel, stipulated to the entry of this protective

  order pursuant to Federal Rule of Civil Procedure 26(c) to prevent unnecessary

  disclosure or dissemination of such confidential information; and

           E. The Parties have shown good cause for entry of this Stipulated Protective

  Order;

           IT IS, THEREFORE, ORDERED that:

           1.    Confidential Material. "Confidential Material" means any document,

  electronically stored information, testimony, or thing being produced in this

  litigation, whether formally or informally, that has been specifically marked as

  "Confidential Material" and that may, but does not necessarily, include any

  information that any Party (the "Designating Party'') reasonably and in good faith

  believes constitutes or discloses information that is not available to the public and

  that constitutes or discloses: (1) official or diplomatic records of the State of Libya;

  (2) personnel or employment records of any person who is not a party to this case;

  (3) financial records; (4) medical records, (5) documents relating to the Libyan

  military or Libyan national security; or (6) other information, not available to the

  public, that would subject a party or third party to undue annoyance or

  embarrassment and that the Party or third-party can demonstrate a particular and

  specific need for protection from significant harm. This provision does not apply to

  any information already in the possession of, and which may later be produced or


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   used by, the Parties prior to the commencement of discovery, or which subsequently

   can be shown as having come into their possession outside of the discovery process.

         2.     Designation. Documents or information may be designated as

   Confidential Material under this Stipulated Protective Order by the person or entity

   producing it or by any Party to this action by placing or affixing the word

   "CONFIDENTIAL" on the document or information in a manner that will not

   interfere with its legibility or readability. Other than information addressed

   specifically by this Stipulated Protective Order, all materials produced in discovery,

   including all depositions and deposition testimony, are automatically treated as

   Confidential Material and Attorneys Eyes Only as detailed below in Paragraph 3(d)

   for a period of fourteen (14) days, after which time such materials will be treated as

   unprotected unless specifically designated as Confidential or Attorneys Eyes Only by

  a Designating Party. Such designation shall always be subject to challenge pursuant

  to Paragraph 6.

         3.    Protection of Confidential Material.

               a.     Confidential Material may be used by the Party or Parties to

  whom it is produced only for the prosecution and/or defense of claims asserted in this

  action, which includes enforcement proceedings of any judgments in a U.S. court, but

  in any such judgment proceeding, the party seeking to submit the Confidential

  material must attempt to place the material under seal and give 21 calendar days'

  notice to the designating party to provide a reasonable opportunity to object and/or

  to seek appropriate remedy to limit the exposure of such material. It may not be used


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   by such Party or Parties for any other purpose, including but not limited to any use

   in any other country, state, federal, local and/or municipal, administrative or legal

   proceeding, lawsuit, enforcement action, arbitration, mediation, or other proceedings,

 · regardless in nature of the relationship to the claims asserted to this action ...!J!l:¼e.




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  SYbjeeHo sneh:-;;i'o:visio:a.s. Confidential Material must not be made public at any

  time. All complete or partial copies of Confidential Material, and written materials

  summarizing or derived from Confidential Material, are also subject to the terms of

  this Stipulated Protective Order.

                   b.          A non-Designating Party may disclose Confidential Material to

  only the following:

                          1.   With respect to Confidential Material described in paragraph 1,
                               persons who appear on the face of the Confidential Material as an
                               author, addressee, or recipient thereof;

                         11.   With respect to Confidential Material described in paragraph 1,
                               persons in whose files the Confidential Material was found;

                        111.   Counsel . r;f •~¢cbi-d.: for the Parties, and their associates, legal
                               assistants, or other support employees who have a demonstrable
                               need for such disclosure in order to conduct this litigation,
                               consistent with the terms of Paragraph 3(c) below;

                        1v. The Parties, unless the Confidential Material has been marked
                            "Attorneys Eyes Only";

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                     v. Any expert or consultant consulted or retained for the purposes
                        of this litigation, consi~tent with the terms of Paragraph 3(c)
                        below;

                    VI.   Personnel of third-party vendors engaged by the Parties to assist
                          in (i) the translation of any documents or speech-provided that
                          the identity of the translator is identified in advance with
                          reasonable opportunity for the designating party to object; (ii) the
                          coding, imaging, or other management of documents for purposes
                          of this litigation; or (iii) the preparation of demonstrative exhibits
                          or other visual aids for presentation at a hearing or trial;

                    vn. The Court and authorized Court personnel, including court
                        reporters and videographers hired by the Parties at any
                        deposition taken in this case;

                 vin. Litigation support vendors; and

                    1x. Jurors and witnesses at any hearing, deposition, or trial of this
                        case, after such material has been approved by order of this
                        Court. Pursuant to this requirement, a party wishing to show
                        Confidential or Attorneys Eyes Only material to jurors or a
                        witness in deposition or in open court must give prior notice of
                        their intent to do so, and provide reasonable opportunity for the
                        opposing party to object and seek an appropriate remedy.


               c.         Before any Confidential Material may be disclosed to any person

  in Paragraph 3(b)(v), each such person must state under oath in a written document

  in the form of Exhibit "A" (attached) that he or she is fully familiar and agrees to

  comply with the terms of this Stipulated Protective Order and further agrees to

  submit to the jurisdiction of this Court with respect to any disputes arising under this

  Stipulated Protective Order. Counsel must maintain a file of the originals of each

  signed Exhibit "A".




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                  d.      Attorneys' Eyes Only. "Attorneys' Eyes Only" means any

   document, electronically stored information, testimony, or thing being produced in

   this litigation, whether formally or informally, and that includes information that

   any Designating Party reasonably and in good faith believes constitutes or discloses

  information that is of such a sensitive nature that its dissemination cannot

   adequately be protected by the Confidential Information designation. Such

   documents shall be marked "Attorneys' Eyes Only" and are subject to the same

   designation procedures as Confidential Material described above and below, except

  such documents may only be shared with counsel of record in this case-so long as

  they reside in and are licensed to practice law in the United States, or are English

  solicitors that have been admitted to the Eastern District of Virginia for this case pro

  hac vice or have subjected themselves to its jurisdiction by signing Exhibit "A" • , w-110

  -a.Fe lieensod to practice in and Fesido v1ithin tho United States, and may not be shared



  ':Attorneys13yes Only." Only counsel of record, who are licensed to practice in and

  reside within the United States, or English solicitors who are admitted in this case

  pro hac vice or h ave subjected themselves to the jurisdiction of the Eastern District

  of Virginia by signing Exhibit "A", may attend Mr. Hifter's deposition and may view

   the transcript and/or the recording of the deposition, if any. Plei;.., ./_;...{+s' e..1 t°~r-4- ""'e..(p;
s.,. ~ec.-t J,, ~e.,./--,".:,,, 3(c ). rii, ,00rr-l-,es - y ~-14-iJ .f'o,.. "ctt-A€0 ;ot-/,'-1,r o"f lit- dr>d"' en ·
           4.      Disputes over Deposition Questions. If there is an impasse over a line of

  questioning, the parties will suspend that line of questioning and move onto a new

  topic to complete the deposition before they contact a magistrate judge. It is agreed



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   that any time spent waiting to discuss and discussing such a dispute with the

   magistrate judge does not count towards the amount of time permitted by Local Rules

   or Orders of the Court with respect to the completion of the deposition. If judicial

   resolution of a dispute over a line of questioning cannot be obtained during the

   deposition, the Parties agree that the deposition will proceed, but held open, and the

   deponent will be made available to respond to the disputed questions within seven

   (7) days of a decision by the magistrate judge that any disputed question(s) should be

   answered.

         5.     Filing of Confidential Material. This Protective Order does not, by itself,

  authorize the filing of any document under seal. Any documents to be filed under seal

  must be done in accordance with Local Court Rule 5 and this Court's Amended

  Standing Order in regards to Procedure for Filing, Service, and Management of

  Highly Sensitive Documents.

         6.    Challenges to Confidentiality and Attomeys Eyes Only Designations.

               a.     A party may challenge the propriety of any "CONFIDENTIAL" or

  Attorneys Eyes Only designation under this Protective Order at any time. A challenge

  may be made by serving the Designating Party with a captioned notice of objection,

  which must identify with particularity the material as to which the designation is

  challenged and state the basis for each challenge ("Notice of Objection").

               b.     Following service of a Notice of Objection, the Parties must timely

  confer in person or by telephone in good faith to resolve the challenge. In the event

  that the Parties are unable to resolve the challenge informally, the party challenging


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   the designation may file, on or before the fourteenth (14th) calendar day after service

   of a Notice of Objection, a motion to re-designate the challenged material,

   accompanied by a certification that the Parties conferred in good faith prior to the

   filing of the motion. In the event of such a motion, the material at issue may be

   submitted to the Court for in camera inspection.

                   c.   The original designation remains effective until the Court has

  ruled on the motion and during the period while any timely-filed objections are under

  consideration by the Court, as provided in Fed. R. Civ. P. 72(a).

         7.     Modification of this Order. The Parties reserve the right to seek

  modification of this Stipulated Protective Order at any time for good cause. The

  Parties agree to meet and confer before seeking to modify this Stipulated Protective

  Order for any reason. The restrictions imposed by this Stipulated Protective Order

  may be modified or terminated only by written stipulation of all Parties or by order

  of this Court.

         8.     Obligation Upon Termination of Litigation. This Stipulated Protective

  Order will survive the termination of this action.

                a.      Upon final termination of the action, including appeals and

  retrials, all Confidential and Attorneys Eyes Only Material, including deposition

  testimony regarding designated exhibits and all copies thereof, must, at the option of

  the Designating Party, either be returned to counsel for the Designating Party or be

  destroyed. Each party's compliance with this provision must be certified by that




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   party's counsel of record, who must deliver such certification to counsel for the

   Designating Party not more than 30 days after the termination of this action.

                 b.     Notwithstanding the provisions for return or destruction of

   Confidential or Attorneys Eyes Only Material, counsel of record may retain pleadings

   and attorney or expert/consultant work product containing Confidential Material.

          9.    Privilege Waiver and Inadvertent Disclosures.

                a.     The inadvertent disclosure of a document subject to a claim of

   attorney-client privilege, work product protection, or other applicable privilege or

   protection is not a waiver of privilege or of protection from discovery in this case or in

   any other federal or state proceeding. For example, the mere disclosure of privileged

   or work product protected documents in this case as part of a mass production will be

  considered inadvertent and will not, by itself, constitute a waiver in this case or in

  any other federal or state proceeding. This Order should be interpreted to provide the

  maximum protection allowed by Federal Rule of Evidence 502(d).

                b.     A Party or Non-Party seeking protection for disclosed documents

  subject to a claim of attorney-client privilege, work product protection, or other

  applicable privilege or protection under this Order is not required to show that

  reasonable steps were taken to avoid the inadvertent disclosure of such documents or

  information. The Receiving Party, upon receiving notice that privileged or protected

  documents have been produced (a "clawback" notice), (1) must promptly return,

  sequester or destroy the specified information and any copies it may have, including

  by deleting or otherwise permanently removing the specified information from any


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   systems used to house documents, including document review databases, e-rooms,

   and any other locations that store the document; (2) must not use or disclose the

   information until the claim is resolved; and (3) must take reasonable steps to retrieve

   the information if the party disclosed it before being notified.

                c.     The Party or Non-Party seeking protection for the documents

   subject to the clawback notice must provide a privilege log for the documents subject

   to the notice within five business days, from which the Receiving Party can determine

   whether to challenge the claim of privilege or other protection for those

   documents. Such a challenge, however, may not allege that privilege was waived for

   the challenged documents because they were produced as part of a mass production.

                d.     The Receiving Party may make no further use of the privileged or

   protected documents during any aspect of this matter or any other matter, including

   in depositions or at trial, unless the privileged or protected documents are later

   designated by a court as not, or no longer, privileged or protected. The contents of the

   privileged or protected documents must not be disclosed to anyone who was not

   already aware of their contents before the notice was made, except that, should the

   Receiving Party file a motion challenging the privilege designation of a document on

   grounds other than inadvertent production, the Producing Party may submit the

   challenged document under seal for the Court's in camera review when it files its

   response to that motion. If the Receiving Party has any notes or other work product

   reflecting the contents of the privileged or protected documents, the Receiving Party




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   may not review or use those materials unless a court later designates the privileged

   or protected documents as not, or no longer, privileged or protected.

          10.   Latent Confidentiality Claims. To the extent consistent with applicable

   law, the inadvertent or unintentional disclosure of Confidential or Attorneys Eyes

   Only material that should have been designated as such, regardless of whether the

   information, document, or thing was so designated at the time of disclosure, will not

   be deemed a waiver in whole or in part of a Party's claim of confidentiality, either as

   to the specific information, document, or thing disclosed or as to any other material

   or information concerning the same or related subject matter. Such inadvertent or

   unintentional disclosure may be rectified by notifying in writing counsel for all

   Parties to whom the material was disclosed that the material should have been

   designated Confidential within a reasonable time after disclosure. Such notice will

   constitute a designation of the information, document or thing as Confidential under

   this Discovery Confidentiality Order.

         11.    Prior Production of Documents. If a Producing Party produced any

   information or document prior to the effective date of this Order, then the Producing

   Party may designate, within twenty-one calendar days from the date of this Order,

   any information or documents as Confidential or Attorneys Eyes Only. The provisions

   of Paragraph 6 (Challenges to Confidentiality and Attorneys Eyes Only Designations)

   still apply to the designation of prior produced documents as Confidential or

   Attorneys Eyes Only. The Parties agree that, pending the resolution of any such




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   disputed matter, under Paragraph 6, they will treat the information or document as

   Confidential or Attorneys Eyes Only under the terms of this Order.

            12.   Seeking Additional Relief. Nothing herein prevents any party from

   seeking additional relief from the Court not specified in this Stipulated Protective

   Order.

            13.   Asserting Privacy Rights. Nothing herein prevents any non-party from

   asserting privacy rights as to documents or information held by the Parties.

            14.   Jurisdiction. The Court retains jurisdiction to make such amendments,

   modifications, and additions to this Stipulated Protective Order as it may from time

   to time deem appropriate.

            Entered on   r'Y}.A(   G, , '202?

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                                                      John F. Anderson - ---~...;;:::__
                                                      United States Magistrate Judge
                                                       John F. Anderson
                                                       United States Magistrate Judge




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                                        EXHIBIT A

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                    Alexandria Division

   MUNA AL-SUYID et al,                    )
                                           )
          Plaintiffs,                      )
                                           )
   v.                                      )        Case No. l:20-cv-00170 (LMB/JFA)
                                           )
   KHALIFA HIFTER,                         )
                                           )
          Defendant.                       )


        AGREEMENT TO BE BOUND BY STIPULATED PROTECTIVE ORDER
          My full name is _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _. My address

   IS                                                                                    I

   hereby acknowledge that I am to have access to information designated in this action

   as CONFIDENTIAL material, as permitted by the terms of the Parties' Stipulated

   Protective Order, in the above captioned action. I certify my understanding that such

   information has been provided to me pursuant to the terms and restrictions of the

   Stipulated Protective Order entered on May __, 2022, under paragraph 3

   (Protection of Confidential Material} thereof, and that I have been given a copy of and

   have read said Stipulated Protective Order and agree to be bound by the terms

   thereof. I further agree to subject myself to the jurisdiction of the United States

   District Court for the Eastern District of Virginia regarding resolution of any matter

   pertaining to said Stipulated Protective Order.



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         I declare under penalty of perjury under the laws of the United States of

   America and the Commonwealth of Virginia that the foregoing is true and correct.


   Dated: _ _ _ _ _ _ __


   Signature:_ _ _ _ _ _ _ _ _ _ _ _ __


   Print Name:- - - - - - - - - - - - - -




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